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IN THE UNITED STATES I)ISTRICT COURT 0 505 %
FoR THE WESTERN DISTRICT oF TENNESSEE " 555/§§ § 9
EASTERN DIvISIoN ._ ”'€ ` 57
ToNY LUSBY, ) 75
)
Plaimiff, )
) ` _ _
v. ) CIVIL ACTION NO.*'1-03-1170 §
)
THE PRoCTER & GAMBLE )
MANUFACTURJNG CoMPANY, )
a corporation, )
)
Defendant. )
“ __ oRDER

The Court hereby GRANTS Defendant The Procter & Gamble
Manufacturing Company, Inc.’s (“Procter & Gamble”) Motion To Exceed The
Page Limit On Motion For Summary Judgment. Procter & Gamble’S memoranda

in Support of its motion for Summary judgment shall not exceed 60 pages.

s.jdenm~mmer'gon
U ted States Ma-g~i-s%x=aiee Judge

Date

This document entered on the docket sheet' m comp ia ce
with Hu!e 58 and,' or 79 (a) FHCP on
1025.0003.846

 

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Honorable .1 ames Todd
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